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                           Exhibit




                                 Exhibit L
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12
13                              UNITED STATES DISTRICT COURT
14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                     WESTERN DIVISION
16    PAUL SNITKO, JENNIFER SNITKO,                 No. 2:21-CV-04405-RGK-MAR
      JOSEPH RUIZ, TYLER GOTHIER,
17    JENI VERDON-PEARSONS,                         DEFENDANTS UNITED STATES OF
      MICHAEL STORC, AND TRAVIS                                     RESPONSE TO
18    MAY,                                                          REQUEST FOR
                                                    INTERROGATORIES RELATED TO
19                Plaintiffs,                       CLASS CERTIFICATION
20                       v.
21    UNITED STATES OF AMERICA, ET
      AL.,
22
23                Defendants.
24
25          Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendants United
26    States of America, Tracy L. Wilkison, in her official capacity as Acting United States
27    Attorney for the Central District of California, and Kristi Koons Johnson, in her official
28    capacity as an Assistant Director of the Federal Bureau of Investigation (collectively.
                                          Exhibit L
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 1     Defendants , by their attorneys, submit their responses
 2    for Interrogatories Related to Class Certification propounded on Defendants.
 3    INTERROGATORY NO. 1:
 4          State the total number of U.S. Private Vaults boxes that contained property seized
 5    by the FBI during the March 2021 raid. Of that total, state the number of boxes:
 6                 a.    Whose contents have been returned to their owners as of the
 7                       date of the discovery response;
 8                 b.    Whose contents are still in the possession of the FBI as of the date of
 9                       the discovery response.
10    RESPONSE TO INTERROGATORY NO. 1:
11          Defendants object to this Request on the ground that proceeding with civil
12    discovery in this case will adversely affect the ability of the government to conduct a
13    related criminal investigation or the prosecution of a related criminal case. Defendants
14    further object to the extent this Request (1) seeks information protected by the
15    attorney-client privilege or work product doctrine; and (2) seeks information protected
16    by the law enforcement evidentiary privilege or the investigatory file privilege.
17    Defendants also object to this Request as not narrowly tailored to class certification or
18
19    ambiguous. Defendants object to this Interrogatory as compound.
20          Subject to the foregoing objections, the government responds as follows:
21          The government has provided information within the scope of permitted discovery
22    in response to Interrogatories 4 and 5.
23    INTERROGATORY NO. 2:
24          State the total number of individuals who have identified themselves to the FBI
25    following the March 2021 raid at U.S. Private Vaults as having an interest in property
26    seized from the safe deposit boxes at U.S. Private Vaults, including by submitting a
27    claim to the FBI as described in Interrogatory #3, submitting a forfeiture claim to the
28
                                           Exhibit2 L
                                              94
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 1    FBI as described in Interrogatory #4, or submitting a petition for remission or mitigation
 2    to the FBI as described in Interrogatory #5. Of that total, state the number of individuals:
 3                 a.     Who have had seized property returned to them as of the date of the
 4                        discovery response;
 5                 b.     Who have not had seized property returned to them as of the date of
 6                        the discovery response.
 7                 c.     Whom Defendants have determined do not have any interest in
 8                        property seized from any safe deposit box at U.S. Private Vaults.
 9    When providing these totals, separately provide the numbers of individuals who have
10    proceeded in their own names or anonymously through counsel. If any of these
11    individuals raised a property interest other than an ownership interest, please state that
12    fact and break those individuals out separately as well.
13    RESPONSE TO INTERROGATORY NO. 2:
14          Defendants object to this Request on the ground that proceeding with civil
15    discovery in this case will adversely affect the ability of the government to conduct a
16    related criminal investigation or the prosecution of a related criminal case. Defendants
17    further object to the extent this Request (1) seeks information protected by the
18    attorney-client privilege or work product doctrine; and (2) seeks information protected
19    by the law enforcement evidentiary privilege or the investigatory file privilege.
20    Defendants also object to this Request as not narrowly tailored to class certification or
21
22    ambiguous. Defendants object to this term as compound and duplicative.
23          Subject to the foregoing objections, the government responds as follows:
24          The government has provided information within the scope of permitted discovery
25    in response to Interrogatories 4 and 5.
26    INTERROGATORY NO. 3:
27          State the number of individuals who have submitted claims to the FBI through the
28                                                  https://forms.fbi.gov/u-s-private-vaults-claim-
                                           Exhibit3 L
                                              95
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 1    form and https://forms.fbi.gov/uspvclaims. Then, of that total, state the number of
 2    individuals:
 3                   a.   Who (i) have not had their property listed in a forfeiture notice and
 4                        (ii) have had their property returned as of the date of the discovery
 5                        response;
 6                   b.   Who (i) have not had their property listed in a forfeiture notice and
 7                        (ii) have not had their property returned as of the date of the
 8                        discovery response;
 9                   c.   Who (i) have had their property listed in a forfeiture notice and (ii)
10                        have had their property returned as of the date of the discovery
11                        response;
12                   d.   Who (i) have had their property listed in a forfeiture notice and (ii)
13                        have not had their property returned as of the date of the discovery
14                        response.
15    When providing these totals, separately provide the numbers of individuals who filed
16    claims in their own names or anonymously through counsel. If any of these individuals
17    raised a property interest other than an ownership interest, please state that fact and break
18    those individuals out separately as well.
19    RESPONSE TO INTERROGATORY NO. 3:
20          Defendants object to this Request on the ground that proceeding with civil
21    discovery in this case will adversely affect the ability of the government to conduct a
22    related criminal investigation or the prosecution of a related criminal case. Defendants
23    further object to the extent this Request (1) seeks information protected by the
24    attorney-client privilege or work product doctrine; and (2) seeks information protected
25    by the law enforcement evidentiary privilege or the investigatory file privilege.
26    Defendants also object to this Request as not narrowly tailored to class certification or
27    the proposed class definitions. Defendants object to this term as compound and
28    duplicative.
                                           Exhibit4 L
                                              96
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 1          Subject to the foregoing objections, the government responds as follows:
 2          The government has provided information within the scope of permitted discovery
 3    in response to Interrogatories 4 and 5.
 4    INTERROGATORY NO. 4:
 5          State the number of individuals who have submitted forfeiture claims to property
 6    seized from U.S. Private Vaults during the March 2021 raid, either by submitting a claim
 7    through the www.forfeiture.gov website or by mailing a claim to the address identified
 8    on the forfeiture notice letters. Of that total, state the number of individuals:
 9                 a.     Who have had their claimed property returned as of the date of the
10                        discovery response;
11                 b.     Who have had their claimed property named in a judicial civil
12                        forfeiture complaint as of the date of the discovery response;
13                 c.     Who have neither had their claimed property returned nor had their
14                        claimed property named in a judicial civil forfeiture complaint as of
15                        the date of the discovery response.
16    When providing these totals, separately provide the numbers of individuals who filed
17    claims in their own names or anonymously through counsel. If any of these individuals
18    raised a property interest other than an ownership interest, please state that fact and break
19    those individuals out separately as well.
20    RESPONSE TO INTERROGATORY NO. 4:
21          Defendants object to this Request on the ground that proceeding with civil
22    discovery in this case will adversely affect the ability of the government to conduct a
23    related criminal investigation or the prosecution of a related criminal case. Defendants
24    further object to the extent this Request (1) seeks information protected by the
25    attorney-client privilege or work product doctrine; and (2) seeks information protected
26    by the law enforcement evidentiary privilege or the investigatory file privilege.
27    Defendants also object to this Request as not narrowly tailored to class certification or
28    the proposed class definitions. Defendants object to this term as compound and
                                            Exhibit5 L
                                               97
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 1    duplicative.
 2           Subject to the foregoing objections, the government responds as follows:
 3           As of the date of this response, the information regarding the number of
 4    individuals who have submitted a claim or petition through the www.forfeiture.gov
 5    website or by mailing a claim to the addresses identified on a forfeiture notice letter is
 6    the following. The information is by box. About 245 boxes have only a claim filed; six
 7    have only a petition filed; and 38 have both a claim and petition filed. As to the 245
 8    boxes with only a claim filed, 18 are marked for return and about nine have been
 9    returned, but these numbers change daily as the deadlines for the government to file a
10    judicial civil forfeiture action approach. As to the cases for which only petitions have
11    been filed, two have been returned. In addition, as to boxes for which both a claim and
12    petition are filed (meaning that the claim takes precedence and requires the filing of a
13    judicial forfeiture action), five are marked for return and six more have been returned.
14           No box has been named in a judicial civil forfeiture complaint yet, as the filing
15    deadlines for these proceedings range from late August to mid-October.
16    INTERROGATORY NO. 5:
17           State the number of individuals who have submitted petitions for remission or
18    mitigation as to property seized from U.S. Private Vaults during the March 2021 raid,
19    either by submitting a petition through the www.forfeiture.gov website or by mailing a
20    petition to the address identified on the forfeiture notice letters. Of that total, state the
21    number of individuals:
22                   a.    Who have had their property returned in whole as of the date of the
23                         discovery response;
24                   b.    Who have had their property returned in part as of the date of the
25                         discovery response;
26                   c.    Whose property has been declared forfeit in whole by the federal
27                         government as of the date of the discovery response;
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                                             Exhibit6 L
                                                98
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 1                 d.     Who have not yet received a decision on their petition for remission
 2                        or mitigation.
 3    When providing these totals, separately provide the numbers of individuals who filed
 4    petitions in their own names or anonymously through counsel. If any of these individuals
 5    raised a property interest other than an ownership interest, please state that fact and break
 6    those individuals out separately as well.
 7    RESPONSE TO INTERROGATORY NO. 5:
 8          Defendants object to this Request on the ground that proceeding with civil
 9    discovery in this case will adversely affect the ability of the government to conduct a
10    related criminal investigation or the prosecution of a related criminal case. Defendants
11    further object to the extent this Request (1) seeks information protected by the
12    attorney-client privilege or work product doctrine; and (2) seeks information protected
13    by the law enforcement evidentiary privilege or the investigatory file privilege.
14    Defendants also object to this Request as not narrowly tailored to class certification or
15    the proposed class definitions. Defendants object to this term as compound and
16
17          Subject to the foregoing objections, the government responds as follows:
18          As of the date of this response, the information regarding the number of
19    individuals who have submitted a claim or petition through the www.forfeiture.gov
20    website or by mailing a claim to the addresses identified on a forfeiture notice letter is
21    the following. The information is by box. About 245 boxes have only a claim filed; six
22    have only a petition filed; and 38 have both a claim and petition filed. As to the 245
23    boxes with only a claim filed, 18 are marked for return and about nine have been
24    returned, but these numbers change daily as the deadlines for the government to file a
25    judicial civil forfeiture action approach. As to the cases for which only petitions have
26    been filed, two have been returned. In addition, as to boxes for which both a claim and
27    petition are filed (meaning that the claim takes precedence and requires the filing of a
28    judicial forfeiture action), five are marked for return and six more have been returned.
                                           Exhibit7 L
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 1          No box has been named in a judicial civil forfeiture complaint yet, as the filing
 2    deadlines for these proceedings range from late August to mid-October.
 3    INTERROGATORY NO. 6:
 4          Describe the procedures followed by the federal government to inventory the
 5    contents of all of the safe deposit boxes held at U.S. Private Vaults at the time of the
 6    March 2021 seizure, including the production of any video recording or other visual
 7    record of the contents of the U.S. Private Vaults safe deposit boxes. Further describe
 8    what types of video recordings or other visual records agents made of the contents of
 9    documents contained within the U.S. Private Vaults safe deposit boxes.
10    RESPONSE TO INTERROGATORY NO. 6:
11          Defendants object to this Request on the ground that proceeding with civil
12    discovery in this case will adversely affect the ability of the government to conduct a
13    related criminal investigation or the prosecution of a related criminal case. Defendants
14    further object to the extent this Request (1) seeks information protected by the
15    attorney-client privilege or work product doctrine; and (2) seeks information protected
16    by the law enforcement evidentiary privilege or the investigatory file privilege.
17    Defendants also object to this Request as not narrowly tailored to class certification or
18
19    ambiguous. Defendants object to this term as compound and duplicative.
20    //
21    //
22    //
23    //
24    //
25    //
26    //
27    //
28    //
                                           Exhibit8 L
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 1          Subject to the foregoing objections, the government responds as follows:
 2          The government has provided information within the scope of the permitted
 3    discovery in response to Interrogatories 4 and 5.
 4    Dated: August 20, 2021                       Respectfully submitted,
 5                                                 TRACY L. WILKISON
                                                   Acting United States Attorney
 6                                                 SCOTT M. GARRINGER
                                                   Assistant United States Attorney
 7                                                 Chief, Criminal Division
 8                                                       /s/             ______________
                                                   ANDREW BROWN
 9                                                 VICTOR A. RODGERS
                                                   MAXWELL COLL
10                                                 Assistant United States Attorneys
11                                                 Attorneys for Defendants
                                                   UNITED STATES OF AMERICA, et al.
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                                          Exhibit9 L
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 1                                        VERIFICATION
 2           I, Lynne K. Zellhart, hereby declare that:
 3           I am a Special Agent with the Federal Bureau of Investigation. I have read the
 4    above DEFENDANTS UNITED STATES OF AMERICA, ET AL.
 5
 6    CERTIFICATION. As to the answers, the information contained in the responses are
 7    either known to me personally, was furnished by official government sources, or was
 8    obtained pursuant to subpoena. As a result, I am informed and believe that the answers
 9    are true.
10           I declare under penalty of perjury under the laws of the United States that the
11    foregoing is true and correct.
12           Executed on August 20, 2021 in Los Angeles, California.
13
14
                                                    LYNNE K. ZELLHART
15
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                                           Exhibit
                                                10L
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